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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-80056-CR-ALTMAN

  UNITED STATES OF AMERICA,

                 Plaintiff,
  v.

  YUJING ZHANG,

              Defendant.
  _________________________________/


             GOVERNMENT’S NOTICE OF FILING EXHIBITS ELECTRONICALLY

          The United States of America, by and through the undersigned Assistant United States Attorney,

  hereby files this notice, pursuant to Local Rule 5.3, of the government’s compliance to electronically file

  all redacted documentary exhibits and photographs offered into evidence at trial in the above referenced

  case.

                                           Respectfully Submitted,


                                            ARIANA FAJARDO ORSHAN
                                            UNITED STATES ATTORNEY

                                          s/ Rolando Garcia
                                     By: ROLANDO GARCIA
                                         ASSISTANT U.S. ATTORNEY
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                                         Exhibits

  1-1 - 1-5   COMPOSITE - PHOTOS OF MAR-A-LAGO SECRET SERVICE CHECKPOINT
  2           AERIAL PHOTO OF MAR-A-LAGO AREA
  3           HOPE TAXI AND LIMO RECEIPT
  7-1, 7-2    MAR-A-LAGO Reception Area Photos
  8           YUJING ZHANG Passports
  9           MIRANDA Warnings Form
  12          Ariel Photo of MAR-A-LAGO showing movement of Defendant
  14          RED ROOF Receipt
  15          UNITED AIRLINES Receipt
  16          UNITED AIRLINES Records
  17          COLONY HOTEL Records
  18          RED ROOF INN Records
  19          USSS Evidence Custody Form
  20          FBI iPhone 7 Data Extraction Report
  22          iPHONE Data Extraction Spreadsheet
  23          iPHONE Date Extraction Spreadsheet (TRANSLATED)
  24          YUJING ZHANG Contract w/ Beijing Peace Friendship Enterprise Mgmt. Co.
  25          YUJING ZHANG Contract w/ Beijing Peace Friendship Enterprise Mgmt. Co.
              (TRANSLATED)
  27          Photo of Secret Service Vest




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on September 19, 2019, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF.


                                                     s/ Rolando Garcia
                                                     Rolando Garcia
                                                     Assistant United States Attorney




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